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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                   )
 JUDICIAL WATCH, INC.,                             )
                                                   )
                 Plaintiff,                        )
                                                   )
        v.                                         )         Case No. 18-00491 (RBW)
                                                   )
 U.S. DEPARTMENT OF JUSTICE,                       )
                                                   )
                 Defendant.                        )
                                                   )

                   JOINT STATUS REPORT REGARDING SCHEDULING

       Pursuant to this Court’s minute order of November 15, 2018, the parties respectfully

submit the following status report:

       1.       At issue in this Freedom of Information Act (FOIA) lawsuit is Plaintiff Judicial

Watch, Inc.’s December 21, 2017 request to Defendant, the United States Department of Justice,

seeking the following records from January 1, 2015 to the present:

             a) Any and all records of communication, including but not limited to emails, text
                messages and instant chats, between DOJ officials in the Attorney General’s
                Office and Fusion GPS employee or contractor Nellie H. Ohr.

             b) Any and all records of communication, including but not limited to emails, text
                messages and instant chats, between DOJ officials in the Attorney General’s
                Office and Fusion GPS employee or contractor Nellie H. Ohr.

       2.       Since the parties’ last joint status report (ECF No. 17), the parties have had further

discussions regarding the technical issues surrounding e-mail migration. The parties are still

partaking in these discussions and respectfully request an extension to January 8, 2019, to

continue these discussions. If the parties are not able to reach agreement, they will provide a

proposed summary judgment briefing schedule with the next joint status report.
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       3.      Therefore, the parties respectfully request that they be permitted to submit another

joint status report with a status of their discussions and recommendations for further proceedings

by January 8, 2019.


Respectfully submitted,                          November 30, 2018

/s/Ramona R. Cotca                               CHAD READLER
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